                                                   Case 3:07-cv-05944-JST Document 4645 Filed 05/10/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                      SAN FRANCISCO DIVISION
                                             9
                                                 IN RE: CATHODE RAY TUBE (CRT)                            Master File No. 3:07-cv-05944-JT
                                            10   ANTITRUST LITIGATION                                     MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                            The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                            [PROPOSED] ORDER OF DISMISSAL
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                                                 Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al.,
                                            13   No. 3:11-cv-05513-JT
                                            14

                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendants Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.),

                                            20                Panasonic Corporation of North America, and MT Picture Display Co., Ltd. in the

                                            21                underlying action are hereby dismissed with prejudice pursuant to Fed. R. Civ. P.

                                            22                41(a)(2).
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                                            23            2) Each party shall bear its own costs and attorney’s fees.
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                                            24            IT IS SO ORDERED.
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                                            26             May 10
                                                 Dated: ____________, 2016               _______________________________________
                                                                                         The Honorable Jon S. Tigar
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                                                                                                                              TigaJUDGE
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                                            27                                           UNITED STATES DISTRICT   e J o n S .
                                                                                                                        COURT
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                                                 Master Case No. 3:07-cv-05944-JT                -3-                                    F OF DISMISSAL
                                                                                                                       D IS T IC T O
                                                                                                                            [PROPOSED] ORDER
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